  Case 15-10691          Doc 39     Filed 09/04/18 Entered 09/04/18 14:02:55            Desc Main
                                      Document     Page 1 of 6


                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS


 In re                                                      Chapter 13
 Eric D. Hoover & Pandora MacLean-Hoover,                   Case No. 15-10691-JNF
 Debtors.


   APPLICATION FOR COMPENSATION OF DEBTORS’ SUCCESSOR COUNSEL

       Christopher M. Brine, attorney and owner of Brine Consumer Law, respectfully requests

that this Honorable Court enter an order pursuant to Fed. R. Bankr. P. 2016 and 11 U.S.C. § 330,

approving the requested compensation outlined herein. In support, Attorney Brine states the

following:

       1.         Eric D. Hoover and Pandora MacLean-Hoover filed a petition for relief under

Chapter 13 of the U.S. Bankruptcy Code in March 2015. Their plan has been confirmed, and it

now appears that some post-confirmation work is appropriate, including a motion to amend

schedules to disclose newly discovered assets, as well as a motion to incur new debt. Debtors

have retained undersigned counsel for this purpose, as well as to takeover representation in this

case generally.

       2.         Attorney Brine is well-experienced in this area. His office, Brine Consumer Law,

is the only law firm in Worcester that focuses exclusively on consumer debt issues: including

bankruptcy, debt defense, and collection violation actions. He is a current and active member of

the National Association of Consumer Advocates, and previously interned for The Honorable

Henry J. Boroff in the Springfield Division of the Massachusetts Bankruptcy Court. A complete

biography is attached hereto (Exhibit A).

       3.         Attorney Brine has agreed to represent the Hoovers in this case for a flat fee of

$1,000. (Exhibit B). As this case has already been confirmed, he expects that this fee reasonably
  Case 15-10691       Doc 39     Filed 09/04/18 Entered 09/04/18 14:02:55            Desc Main
                                   Document     Page 2 of 6


corresponds with the anticipated time and costs in this case. Attorney Brine has received

payment of $1,000 from the Hoovers, pending further order of this Court.



WHEREFORE, Attorney Brine respectfully requests that compensation of $1,000 be allowed.

                                              Respectfully submitted,


                                              /s/ Christopher M. Brine
                                              Christopher M. Brine (BBO 679289)
                                              Brine Consumer Law
                                              100 Grove Street, Suite 210
                                              Worcester, MA 01605
                                              P – (508) 556-1899
                                              F – (508) 556-9951
                                              cmb@brineconsumerlaw.com



                                      Certificate of Service

I hereby certify that on this day copies of the foregoing application were electronically served
upon all registered CM/ECF participants in accordance with MLBR, Appendix 8, Rule 9, and
upon all other interested parties who have appeared and requested such notice.

                                                 /s/ Christopher M. Brine
                                                 Christopher M. Brine (BBO 679289)
  Case 15-10691       Doc 39     Filed 09/04/18 Entered 09/04/18 14:02:55            Desc Main
                                   Document     Page 3 of 6


                                                                                          A
                                                                                                A




Christopher M. Brine, B.A., B.A., J.D.

Christopher M. Brine is an attorney and owner of Brine Consumer Law, located in Worcester,
Massachusetts. Brine Consumer Law focuses exclusively on all three major aspects of consumer
debt law: bankruptcy, debt defense, and debt collection violations.

Attorney Brine has successfully represented consumers at trial, as well as in multiple published
opinions. He is experienced at all levels of state and federal trial courts - including superior
court, district court, small claims court, federal district court, and bankruptcy court. He has
represented numerous debtors in bankruptcy, and has successfully prosecuted actions for
violation of the automatic stay and/or discharge injunction. He has obtained orders in state courts
enjoining foreclosure sales, and has brought several other actions in various venues for violation
of state and federal consumer protection laws, including but not limited to, G.L. c. 93A, the Fair
Debt Collection Practices Act, violation of state foreclosure laws, improper loan modification
procedures, and predatory lending laws.

Prior to opening his own practice, Attorney Brine gained significant experience in the field of
consumer protection law. In law school, he interned with The Honorable Henry J. Boroff, in the
Bankruptcy Court for the District of Massachusetts. After law school, he worked an associate
attorney for a north shore bankruptcy/real estate firm as well as a consumer litigation firm now
based out of downtown Boston.

Attorney Brine graduated from Quinnipiac University School of Law, magna cum laude, in 2010,
and is currently licensed to practice law in the Commonwealth of Massachusetts, U.S. District
Court for the District of Massachusetts, and the U.S. Bankruptcy Court for the District of
Massachusetts. (He was also licensed to practice in the State of Connecticut, but that license is
currently inactive). He received his undergraduate education from Central Connecticut State
University, from which he graduated in 2007 with a double major.

Attorney Brine has also been an active member of the National Association of Consumer
Bankruptcy Attorneys, National Association of Consumer Advocates, Massachusetts Bar
Association, and Worcester Bar Association. He also represents pro bono clients through the
Community Legal Aid Volunteer Lawyers Service, is a member of the Bankruptcy Court Pro
Bono Adversarial Proceeding Panel, and has been named to the bankruptcy court pro bono honor
roll for 2014 and 2015. He is a past volunteer for the M. Ellen Carpenter Financial Literacy
Program, the Massachusetts Bar Association’s Dial-A-Lawyer program, and the Volunteer
Lawyer’s Project of Boston.
              Case 15-10691             Doc 39   Filed 09/04/18 Entered 09/04/18 14:02:55          Desc Main
                                                   Document     Page 4 of 6


                                                     Retainer Agreement
                                                                                                            B
           We, Eric Hoover and Pandora MacLean Hoover, hereby agree to retain Brine Consumer Law in
           connection with a Chapter 13 bankruptcy proceeding, upon the following terms.

           Scope of Representation
           Brine Consumer Law shall represent us with regard to a Chapter 13 bankruptcy proceeding. Such
           representation shall include strategic planning, preparation of my bankruptcy petition and plan
           and amendments or other necessary documents, appearing at the § 341 trustee meeting, and
           representation with regard to any related contested matters.

           Costs
           The total initial retainer due is $1,000. This is an initial retainer amount, and it is agreed that
           Brine Consumer Law shall be paid at its usual and customary rate of $250 per hour, for services
           actually performed. In the event that the value of services exceeds the total initial retainer paid,
           then Brine Consumer Law shall request approval from the Bankruptcy Court, if necessary, to be
           paid additional funds. To the extent possible, Brine Consumer Law shall seek to collect such
           additional payments from my trustee plan payments, but it is not required to do so in all
           circumstances.

           In some cases, circumstances may occur in which additional representation beyond the scope of
           this agreement is needed.

           If a creditor violates a bankruptcy or consumer protection law, entitling us to damages, then
           Brine Consumer Law shall represent us for such claim(s), at its discretion, on a contingent fee
           basis. In such circumstances, we shall not be liable to pay compensation, court costs, or litigation
           expenses, other than from amounts collected by settlement, judgment, or otherwise. Court costs
           and litigation expenses shall be first deducted from any such amount. Brine Consumer Law shall
           then be entitled to compensation in the amount of fees incurred at the usual and customary rate
           of $250 per hour, or one-third of the remaining amount, whichever is greater.

           If an adversarial proceeding is filed against us relating to discharge or the dischargability of any
           debt, then Brine Consumer Law shall represent us at the usual and customary rate of $250 per
           hour. An initial retainer of $2,000 shall be required to commence such representation. If any
           other adversarial proceeding is filed against us, or if we wish to be the plaintiff in any other
           adversarial proceeding not referenced herein, then Brine Consumer Law has no obligation to
           represent us in such action unless agreed to in a separate retainer agreement.

           Termination of Representation
           This attorney/client relationship shall automatically terminate upon the court’s closure of the
           bankruptcy case.

           Accuracy of Information
           We understand that we will be signing a bankruptcy petition, schedules, and other documents
           under the penalty of perjury, and that we are responsible for the accuracy of information
           contained therein. We agree to hold Brine Consumer Law harmless for the omission or



                                                                                       Initials: _______   _______


Document Ref: VVF96-4VPKJ-WDU9Q-94LFS                                                                                Page 41 of 46
              Case 15-10691             Doc 39   Filed 09/04/18 Entered 09/04/18 14:02:55         Desc Main
                                                   Document     Page 5 of 6


           inaccurate representation of any such information contained therein. We agree to immediately
           provide Brine Consumer Law with any requested information, and understand that once the case
           is filed, court permission will be required to transfer any assets or obtain any credit during the
           course of the case.

           Attorney Withdrawal
           Brine Consumer Law may, upon giving reasonable notice, and subject to applicable court and
           professional rules, seek to terminate its involvement in our case. Such withdrawal may be sought
           if, among other things, the facts of the case are found to be materially different than we have
           stated, or if we otherwise fail to cooperate.

           Document Retention
           Upon termination of representation, all papers relating to your case will be returned to you upon
           your written request. If no request for a return of documents is received within a reasonable time,
           then Brine Consumer Law reserves the right to destroy or otherwise dispose of your documents.
           While Brine Consumer Law has no obligation to do so, any such documents may be retained in
           electronic format.

           Internet/Cloud Services
           Brine Consumer Law strives to be as paperless as possible. To that end, it uses internet and cloud
           based services for storing and sharing information. While it has taken reasonable steps to ensure
           that such information is protected, no one can provide an absolute guarantee that such
           information will be protected from third parties. While this would also be the case if such
           information were located in a physical office, we specifically consent to the use of these services.

           No Guarantee
           We understand and agree that no results in this case have been guaranteed to us, and this
           agreement is not based upon any such perceived promises or anticipated results.

           Electronic Copies
           A facsimile, copy, or electronically signed version of this Retainer Agreement shall be effective
           as an original.

           Only Agreement
           We understand and agree that we have no other oral or written agreements about this
           representation.




                                                                                      Initials: _______   _______


Document Ref: VVF96-4VPKJ-WDU9Q-94LFS                                                                               Page 42 of 46
              Case 15-10691             Doc 39   Filed 09/04/18 Entered 09/04/18 14:02:55      Desc Main
                                                   Document     Page 6 of 6


           Client Signatures:



           ____________________________________________                       09/04/2018
                                                                       Date: ___________________
           Eric Hoover



                                                                              09/04/2018
           ____________________________________________                Date: ___________________
           Pandora MacLean Hoover


           Attorney Signature:



                                                                             09/04/2018
           ____________________________________________                Date: ___________________
           Christopher M. Brine




                                                                                   Initials: _______   _______


Document Ref: VVF96-4VPKJ-WDU9Q-94LFS                                                                            Page 43 of 46
